                                      United States Bankruptcy Court
                                     Western District of Washington
In re:                                                                                  Case No. 20-11870-TWD
Nicholas Clifton Barnard                                                                Chapter 7
         Debtor
                                         CERTIFICATE OF NOTICE
District/off: 0981-2           User: admin                  Page 1 of 2                    Date Rcvd: Jul 13, 2020
                               Form ID: pdf341              Total Noticed: 50


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jul 15, 2020.
db             +Nicholas Clifton Barnard,     6806 Oswego PL NE,     #101,    Seattle, WA 98115-6400
956858453      +1&1 Internet Inc.,    701 Lee Rd. Suite 300,     Chesterbrook, PA 19087-5612
956858454      +AAC/FSC Clocktower Investors,     13725 32nd Ave. NE,      Seattle, WA 98125-3690
956858459      +AT&T,    PO Box 5074,    Carol Stream, IL 60197-5074
956858456      +Amex,    Po Box 297871,    Fort Lauderdale, FL 33329-7871
956858457      +Amexdsnb,    9111 Duke Blvd,    Mason, OH 45040-8999
956858461     ++BANK OF AMERICA,    PO BOX 982238,    EL PASO TX 79998-2238
               (address filed with court: Bk Of Amer,       Po Box 982235,     El Paso, TX 79998)
956858460      +Benjamin Schwartz,    210B 26th Ave. E,     Seattle, WA 98112-5411
956858462       Boeing Employees C U,     P O Box 97050-Dir Of Ln,     Seattle, WA 98124
956858464      +Cap One Na,    1 S Orange St,    Wilmington, DE 19801-5006
956858468      +Citi,    Po Box 6241,    Sioux Falls, SD 57117-6241
956858469      +Code Fellows, LLC,    2901 3rd Ave.,     Ste. 300,    Seattle, WA 98121-1042
956858470      +Credit First N.A.,    PO Box 81344,     Cleveland, OH 44188-0001
956858475      +Evergreen Professional Recover,     12303 NE 130th Ln,      Kirkland, WA 98034-3099
956858476      +First Internet Bank Of,     8888 Keystone Xing Ste 1,      Indianapolis, IN 46240-7657
956858480      +Kay Hessemer,    1302 N 152nd St #14,     Shoreline, WA 98133-6248
956858481      +Key Bank N.A.,    PO box 94968,    Cleveland, OH 44101-4968
956858483       Lab. Co. of America Holdings,     PO Box 2240,     Burlington, NC 27216-2240
956858485      +Mark T. Case,    PO Box 30131,    Spokane, WA 99223-3002
956858486      +Michele Eckman,    8628 SW 108 PL RD,     Ocala, FL 34481-5383
956858487      +Mobiloans, LLC,    PO Box 1409,    Marksville, LA 71351-1409
956858488      +Pacific Medical Centers,     PO Box 24386,    Seattle, WA 98124-0386
956858492      +Randi Dolan,    3112 Celt Aly,    Nolensville, TN 37135-1215
956858493       Red Rock Tribal Lending,     dba CastlePayday.com,     PO Box 704,    Watersmeet, MI 49969-0704
956858494       Santander Consumer USA,     Attn.: Bankruptcy Dept.,     PO Box 560284,    Dallas, TX 75356-0284
956858495       Swedish Medical Center,     Mailstop: 37268915,     P.O. Box 660354,    Dallas, TX 75266-0354
956858496      +Swedish Medical Group,     PO Box 84026,    Seattle, WA 98124-8426
956858499      +Target Nb,    Po Box 673,    Minneapolis, MN 55440-0673
956858500      +Td Bank Usa/Targetcred,     Po Box 673,    Minneapolis, MN 55440-0673
956858501     ++US BANK,    PO BOX 5229,    CINCINNATI OH 45201-5229
               (address filed with court: Us Bank,       4325 17th Ave S,     Fargo, ND 58125)
956858504      +US Dept. of Ed/glelsi,     P.O. Box 7860,    Madison, WI 53707-7860
956858503      +US Dept. of Ed/glelsi,     P.O. Box 5609,    Greenville, TX 75403-5609

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
956858458      +E-mail/Text: g20956@att.com Jul 14 2020 03:25:52       AT&T,    PO Box 30459,
                 Los Angeles, CA 90030-0459
956858463      +E-mail/Text: ecf@becu.org Jul 14 2020 03:25:57       Boeing Employees C U,     Po Box 97050,
                 Seattle, WA 98124-9750
956858465       E-mail/PDF: AIS.cocard.ebn@americaninfosource.com Jul 14 2020 03:37:59
                 Capital One Bank Usa N,    15000 Capital One Dr,    Richmond, VA 23238
956858466       E-mail/Text: bankruptcy@cashcentral.com Jul 14 2020 03:25:48        Cash Central of WA, LLC,
                 84 E 2400 N,   North Logan, UT 84341-2902
956858471      +E-mail/Text: kthompson@crownasset.com Jul 14 2020 03:25:38        Crown Asset Mgt, LLC,
                 3100 Breckinridge Blvd.,    Ste 725,    Duluth, GA 30096-7605
956858472      +E-mail/Text: mrdiscen@discover.com Jul 14 2020 03:25:14        Discover Fin Svcs Llc,
                 Po Box 15316,   Wilmington, DE 19850-5316
956858473      +E-mail/Text: BPCUnit@esd.wa.gov Jul 14 2020 03:26:05       Employment Security Department,
                 P.O. Box 9046,   Olympia, WA 98507-9046
956858474      +E-mail/Text: l.clauson@everprof.com Jul 14 2020 03:25:38        Evergreen Prof. Recovery,
                 12100 NE 195th St.,    Ste. 125,   Bothell, WA 98011-5777
956858477      +E-mail/Text: BK@lendup.com Jul 14 2020 03:25:59       Flurish Inc. dba LendUp,
                 237 Kearny St. #372,    San Francisco, CA 94108-4502
956858479      +E-mail/Text: sbse.cio.bnc.mail@irs.gov Jul 14 2020 03:25:25        Internal Revenue Service,
                 Centralised Insolvency Op.,    PO Box 7346,    Philadelphia, PA 19101-7346
956858467       E-mail/PDF: ais.chase.ebn@americaninfosource.com Jul 14 2020 03:38:46         Chase Card,
                 Po Box 15298,   Wilmington, DE 19850
956858482      +E-mail/Text: bncnotices@becket-lee.com Jul 14 2020 03:25:20        Kohls/Chase,
                 N56 W 17000 Ridgewood Dr,    Menomonee Falls, WI 53051-7096
956858484      +E-mail/Text: mpcbankruptcy@marathonpetroleum.com Jul 14 2020 03:25:39         Marathon Petroleum Co,
                 539 S Main St,   Findlay, OH 45840-3229
956858491       E-mail/PDF: PRA_BK2_CASE_UPDATE@portfoliorecovery.com Jul 14 2020 03:38:48
                 Portfolio Recovery Assoc.,    P.O. Box 12914,    Norfolk, VA 23541
956858489      +E-mail/Text: bankruptcypgl@plaingreenloans.com Jul 14 2020 03:25:50        Plain Green,
                 93 Mack Road Suite Po Box 270,    Box Elder, MT 59521-0270
956858490      +E-mail/Text: bankruptcypgl@plaingreenloans.com Jul 14 2020 03:25:50        Plain Green, LLC,
                 93 Mack Road, Suite 600,    PO Box 270,    Box Elder, MT 59521-0270
956858497      +E-mail/PDF: gecsedi@recoverycorp.com Jul 14 2020 03:38:19        Syncb/Amazon,    Po Box 965015,
                 Orlando, FL 32896-5015
956858498      +E-mail/PDF: gecsedi@recoverycorp.com Jul 14 2020 03:38:19        Synchrony Bank,    PO Box 5138,
                 Timonium, MD 21094-5138
                                                                                                TOTAL: 18


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              ***** BYPASSED RECIPIENTS (continued) *****

           ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
956858478*     +Internal Revenue Service,   Field Insolvency Unit,   915 Second Ave M/S W244,
                 Seattle, WA 98174-1030
956858502*    ++US BANK,   PO BOX 5229,   CINCINNATI OH 45201-5229
               (address filed with court: Us Bank,    Cb Disputes Po Box 108,   Saint Louis, MO 63166)
956858455    ##+American Credit Resolution,   PO Box 467201,   Atlanta, GA 31146-7201
                                                                                            TOTALS: 0, * 2, ## 1

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jul 15, 2020                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 10, 2020 at the address(es) listed below:
              Michelle Carmody Kaplan   on behalf of Debtor Nicholas Clifton Barnard michelle@kaplanlawpllc.com,
               jbolen@kaplanlawpllc.com
              Ronald G. Brown   rgblaw@nwlink.com, rgbrown@ecf.axosfs.com
              United States Trustee   USTPRegion18.SE.ECF@usdoj.gov
                                                                                            TOTAL: 3




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                          NOTICE FROM THE U.S. TRUSTEE’S OFFICE WITH
                     INSTRUCTIONS AND INFORMATION FOR PARTICIPATING IN
                         TELEPHONIC SECTION 341 CREDITORS’ MEETINGS
          IN THE U.S. BANKRUPTCY COURT FOR THE WESTERN DISTRICT OF WASHINGTON


 For Chapter 7              Normal 341      Presiding Trustees            Call In Information
 Debtors Residing In        Location
 Whatcom County             Bellingham      Virginia A. Burdette          Conference Line: 1-888-396-5019
 Skagit County                              Dennis Lee Burman             Participant Code: 6032931
 San Juan County
 Clallam County             Bremerton       Michael P. Klein              Conference Line: 1-866-660-6472
 Jefferson County                           John S. Peterson              Participant Code: 8196120
 Kitsap County
 Snohomish County           Everett         Virginia A. Burdette          Conference Line: 1-866-763-1542
 Island County                              Dennis Lee Burman             Participant Code: 4624291
                                            Michael P. Klein
 King County                Seattle         Ronald G. Brown               Conference Line: 1-866-707-2446
                                            Nancy L. James                Participant Code: 7204500
                                            Edmund J. Wood
 Pierce, Grays Harbor,      Tacoma          Brian Lowell Budsberg         Conference Line: 1-866-829-9875
 Thurston, Lewis and                        Terrence J. Donahue           Participant Code: 4230506
 Mason Counties                             Kathryn A. Ellis
                                            Mark D. Waldron
 Clark, Cowlitz,            Vancouver       Charles D. Carlson            Conference Line: 1-866-882-3107
 Pacific, Skamania                          Russell D. Garrett            Participant Code: 4674917
 and Wahkiakum                              Donald A. Thacker
 Counties
 ALL Chapter 12                             Virginia A. Burdette          Conference Line: 1-866-628-6911
 cases                                                                    Participant Code: 9032639
 ALL Chapter 13                             Jason Wilson-Aguilar          Conference Line: 1-866-880-5064
 cases                                      Michael G. Malaier            Participant Code: 6951575

 ALL Chapter 11                             U.S. Trustee’s Office         Conference Line: 1-866-741-6993
 Cases                                                                    Participant Code: 7578142


Identification Procedures:
Debtors should provide copies of their photo identification and proof of Social Security number to the presiding trustee
prior to the start of the section 341 meeting. Copies may be provided through debtor’s counsel or directly to the presiding
trustee if debtor is unrepresented. If such proof has not been provided, the examination of the debtor may go forward but
the meeting will be ultimately continued until the trustee has received proof of identification.
Preparation for the Call:
    -   Use a stable telephone line to avoid interruptions and background noise.
    -   Each call will have multiple parties; after connecting to the call please place your phone on mute and wait until
        your case is called before speaking.
    -   When your case is called, please speak loudly into the phone as the meeting is being audio recorded by the
        trustee.
    -   Debtors should be prepared and have copies of documents on which they can reasonably expect to be examined
        (petition, schedules, statement of financial affairs, tax returns, Rule 4002 documents, etc.) or any documents the
        trustee has indicated in advance that debtors should have available for questioning.




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